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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
x
In Re Terrorist Attacks on September 11, 2001 03 MDL 1570 (GBD)(SN)

x

This document relates to:

Ashton et.al. y. Qaeda Islamic Army, et. al., 02 cv-6977 (GBD)(SN)
Schneider, et. al. Islamic Republic of Iran, 02-cv-7209 (GBD)(SN)

Declaration of Meryl I. Schwartz in Support of the Schneider Plaintiffs’ Motion for Final
Judgments Against the Taliban and Muhammad Omar

MERYL I. SCHWARTZ, Esgq., hereby states under penalty of perjury that:

1. 1 am an attorney representing the Schneider Plaintiffs! in the above-captioned litigation
and submit this Declaration in support of the motion for final judgment on behalf of the estates
of those individuals murdered on September 11, 2001 (“Schneider 9/11 Decedents”) and the
immediate family members. This motion seeks the following relief:

a. Awarding the Estates of Schneider 9/11 Decedents identified in Exhibit A, through
their personal representatives, an award for conscious pain and suffering and
economic damages which will constitute a final judgment in the amounts set forth on
Exhibit A;

b. Awarding the immediate family members of the Schneider 9/11 decedents, who are
named as the personal representatives of those estates identified in Exhibit B, an
award for solatium damages, which will constitute a final judgment in the amounts set
forth on Exhibit B;

c. Awarding the Schneider plaintiffs identified on those exhibits pre-judgment interest at
the rate of 4.96 percent per annum, compounded annually for the period from
September 11, 2001 until the date of the judgment for damages;

d. Granting the Schneider plaintiffs identified in those exhibits permission to seek
punitive damages and other appropriate damages at a later date;

2. The form of this motion and the relief requested herein are intended to comply with

prior orders of this court.

1 As set forth in detail in footnote 1 of the instant motion, Broder & Reiter was retained by the
plaintiffs identified in Exhibit A who are collectively described as “Schneider Plaintiffs.” The
claims of these plaintiffs have at various times been consolidated into and made a part of the
action filed by Kreindler & Kreindler entitled Ashton v. al Qaeda Islamic Army, et. al., 02-cv-
6977.

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3. On September 10, 2002, the Schneider plaintiffs filed their original complaint against
the alleged sponsors of the September 11, 2001 terrorist attacks, which included claims against al
Qaeda Islamic Army, the Taliban, and Muhammad Omar, among others. See 02-cv-7209 at ECF
1. This complaint was consolidated and made a part of the action referred to in this litigation as
Ashton y. al Qaeda Islamic Army, et. al. which has been amended multiple times. See, e.g. 02 cv
6977 (SDNY) ECF 11, 32, 38, 111, 465.

4. Pursuant to this Court, the Schneider Plaintiffs, and others, served the Taliban and
Omar defendants by publication ECF 445 at 1, 8, 11. Verification of service by publication on
among others, the Taliban and Omar Defendants, was provided on March 16, 2005 and March
31, 2005, for publication in both English and Arabic, consistent with the service order. ECF
Nos., 709, 735. The Taliban and Omar defendants never answered, and the Schneider plaintiffs
as part of the Ashton action thereafter moved for a certificate of default and a default judgment,
which this Court granted on May 12, 2006. ECF No. 1782 et. eq. 1797.

5. The Schneider plaintiffs identified in Exhibits A now seek final damages judgments
against the Taliban and Omar defendants.

Damages Due Diligence

6. The source of my information and the basis for my belief in my statements contained
herein is my personal involved in this matter for more than 20 years; my firm’s representation of
the Schneider plaintiffs in connection with this litigation; communications directly with the
immediate family members of the Schneider 9/11 decedents listed in Exhibits A and B;
communications with counsel for other plaintiffs in the In re Terrorist Attack on September 11,
2001 multi-district litigation; and other documents and records contained in my firm’s files and

other court records relating to the multi-district litigation to which the Schneider plaintiffs are
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parties. Any matters about which I lack personal knowledge are asserted herein upon information
and belief.

7. All of the Schneider decedents listed in Exhibit A died in the September 11, 2001
terrorist attacks. Shortly thereafter, Broder & Reiter were retained by the personal representatives
of the estate of the Schneider decedents listed in Exhibit A to pursue all claims arising out of
their deaths.

8. All of the Schneider decedents were United States nationals at the time of their deaths
as evidenced by documentary evidence obtained by my law firm including copies of birth
certificates, passports and verified applications to the September 11" Victims Compensation
Fund and personal interviews and/or written communications with the personal representations
of the Estates of the Schneider decedents and their immediate family members.

9, Exhibit A sets forth the conscious pain and suffering amount amounts previously
awarded in connection with other defendants in this litigation, the Islamic Republic of Iran.

10. This Court previously awarded solatium damages to the immediate family members

of the Schneider decedents listed in Exhibit B in the following amounts:

Relationship to Decedent Solatium Award
Spouse $12,500,000
Parent 8,500,000

Child 8,500,000
Sibling 4,250,000

11, The Schneider plaintiffs are representatives of the estates of the Schneider 9/11
decedents named in the complaints underlying the default judgment against the Taliban and

Omar Defendants, which asserted claims for all survivors of the Schneider decedents and
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expressly identified solatium damages, and they are also immediate family members of the
Schneider decedents named in the action filed against these defendants. We have confirmed the
relationship between the Schneider decedents and the individuals listed in Exhibit B through
documentary evidence demonstrating estate appointments obtained from our clients and/or the
applicable surrogate’s court. These individuals have also been added by name via Notice of
Amendment by the process this Court established concerning the claims against Defendants Iran
and Sudan.

12.The Schneider plaintiffs listed in the exhibits to this declaration have received final
judgments against Iran but have received no final judgment against either the Taliban nor Omar
defendants nor have they collected anything close to the full amount of their judgments against
Iran.

13. To allow them to proceed with satisfying their outstanding judgment amounts against
the Taliban or Omar defendants, the Schneider Plaintiffs respectfully request that the Court issue
the same damage awards for these plaintiffs that the Court ordered in the final judgments against
Iran and are reflected in Exhibits A.

14. For all of the reasons set forth in this declaration and the Schneider Plaintiffs’ Motion
for Final Judgments against Taliban and Omar Defendants, I respectfully request that this Court
granted the proposed filed herewith.

Dated: New York, New York
March 29, 2022

/s/Meryl I. Schwartz
Meryl I. Schwartz

